                     Case 23-12118-BLS          Doc 18      Filed 03/13/24        Page 1 of 14



                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 7

    OROX CAPITAL MANAGEMENT, LLC, et                              Case No. 23-12118 (BLS)
    al.,1
                                                                  (Joint Administration Requested)
                                   Debtors.

                                                                  Hearing Date: April 17, 2024 at 11:00 am
                                                                  Objection Deadline: March 22, 2024 at 4:00 pm

              NOTICE OF APPLICATION OF CHAPTER 7 TRUSTEE TO EMPLOY
             MILLER COFFEY TATE LLP AS ACCOUNTANTS AND BANKRUPTCY
                   CONSULTANTS EFFECTIVE AS OF JANUARY 23, 2024

       PLEASE TAKE NOTICE that the Chapter 7 Trustee, George L. Miller, (the “Trustee”) filed
the Application of Chapter 7 Trustee, George L. Miller, to Employ Miller Coffey Tate LLP as
Accountants and Bankruptcy Consultants, effective as of January 23, 2024 (the “Application”) with
the United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,
Wilmington, Delaware 19801 (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that any objections to the Application must be made
in writing, filed with the Bankruptcy Court and served so as to actually be received by 4:00 p.m. (ET)
Eastern Time on March 22, 2024 by the undersigned. If no objections are timely filed in
accordance with the above procedures, the undersigned shall file a Certification of No Objection.
Upon the filing of the Certification of No Objection, the Court may enter the Order to the Application
without further notice or a hearing.

       PLEASE TAKE FURTHER NOTICE that if an objection is properly filed in accordance
with the above procedure, a hearing on the Application will be held on April 17, 2024, at 11:00 a.m.
(ET) before the Honorable Brendan L. Shannon, United States Bankruptcy Court Judge. Only those




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Orox Capital
Management, LLC (4939); AIHV I, LLC (7179); Armstrong Co-Investment Vehicle, L.P. (8126); CEI Holding Vehicle,
LLC (5105); OC Holding Vehicle, LLC (0838); OCAV IV, LLC (4825); OFAV I, LLC (9639); Orox Capital Acquisition
Vehicle I, LLC (8500); Orox Capital Co-Investment GP, L.P. (5106); Orox Capital Co-Investment Vehicle I, L.P. (9236);
Orox Capital Co-Investment Vehicle II, L.P. (3829); Orox Capital Co-Investment Vehicle III, L.P. (7229); Orox Capital
Credit GP, L.P. (1345); Orox Capital Credit Opportunities Fund, L.P. (1452); Orox Capital GP, LLC (7073); Orox Finance
Co-Investment GP, L.P. (3926); Orox Southwest Holding Vehicle, LLC (0991); Orox SSW Holdings, LLC (1107); Oscar
Equipment Company, LLC (3376); Oscar Holding Vehicle, LLC (9768).

4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS   Doc 18    Filed 03/13/24    Page 2 of 14



objections made in writing, timely filed, and served in accordance with the above procedure will be
considered at and receive notice of such hearing.

Dated: March 13, 2024


                                            By:    /s/ George L. Miller
                                                   George L. Miller
                                                   Eight Penn Center, Suite 950
                                                   1628 John F Kennedy Blvd
                                                   Philadelphia, PA 19103
                                                   Telephone:     (215) 561-0950
                                                   Facsimile:     (215) 561-0330

                                                   Chapter 7 Trustee




4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS          Doc 18      Filed 03/13/24        Page 3 of 14



                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 7

    OROX CAPITAL MANAGEMENT, LLC, et al1,                         Case No. 23-12118 (BLS)

                                   Debtors.                       (Joint Administration Requested)

                                                                  Hearing Date: April 17, 2024 at 11:00 a.m.
                                                                  Objection Deadline: March 27, 2024 at 4:00 p.m.

                APPLICATION OF CHAPTER 7 TRUSTEE GEORGE L. MILLER
               TO EMPLOY MILLER COFFEY TATE LLP AS ACCOUNTANTS AND
              BANKRUPTCY CONSULTANTS, EFFECTIVE AS OF JANUARY 23, 2024

                    George L. Miller, the chapter 7 trustee (the “Trustee”) of the estate of the above-

captioned debtors, files this application (the “Application”) pursuant to sections 327(a) and 328 of

title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rule 2014-1 for entry of an

order authorizing him to employ Miller Coffey Tate LLP (“MCT”) as accountants and bankruptcy

consultants, effective as of January 23, 2024. In support of this Application, the Trustee submits the

Declaration of Matthew R. Tomlin (the “Tomlin Declaration”) annexed hereto. In further support of

this Application, the Trustee respectfully states as follows:

                                                JURISDICTION

             1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference of the United States District Court for the District




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Orox Capital
Management, LLC (4939); AIHV I, LLC (7179); Armstrong Co-Investment Vehicle, L.P. (8126); CEI Holding Vehicle,
LLC (5105); OC Holding Vehicle, LLC (0838); OCAV IV, LLC (4825); OFAV I, LLC (9639); Orox Capital Acquisition
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Co-Investment GP, L.P. (3926); Orox Southwest Holding Vehicle, LLC (0991); Orox SSW Holdings, LLC (1107); Oscar
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4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS          Doc 18     Filed 03/13/24     Page 4 of 14



of Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to Local Rule

9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), the Trustee consents to the entry by this Court

of a final order in connection with this Application.

          2.        The predicates for the relief requested in this Application are Bankruptcy Code

sections 327(a) and 328, Bankruptcy Rule 2014(a), and Local Rule 2014-1.

                                                BACKGROUND

          3.        On or about December 31, 2023 (the “Petition Date”), Orox Capital Management,

LLC, et al (collectively the “Debtors”) commenced voluntary petitions for relief under Chapter 7 of

the Bankruptcy Code.

          4.        On December 31, 2023, George L. Miller was appointed as the Chapter 7 Trustee for

the Debtors’ Bankruptcy Estates.

                               EMPLOYMENT OF MILLER COFFEY TATE LLP

          5.        To properly account to the Office of the United States Trustee, determine all financial

data necessary to make business decisions, and prepare all necessary forms, the Trustee requires the

services of accountants and bankruptcy consultants to perform services including, but not limited to:

                    a. Assist in reporting to the United States Trustee regarding the financial status of the

                         Debtors;

                    b. Assist the Trustee in identifying and securing the assets and records of the estates

                         and provide forensic accounting services if required;

                    c. Assist the Trustee in liquidating assets (not duplicative of any other

                         professionals(s) that may be retained by the Trustee to liquidate assets);

                    d. Assist the Trustee in pursuing causes of action for the benefit of the estates;

4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS           Doc 18    Filed 03/13/24   Page 5 of 14



                    e. Assist the Trustee with analysis and reconciliation of claims asserted against the

                         Debtors;

                    f. Prepare and file necessary tax returns and other required tax filings;

                    g. Attend meetings with the Trustee and Court hearings as required; and

                    h. Provide any other accounting, tax or consulting services as may be requested by

                         the Trustee during the administration of these Bankruptcy Cases.

          6.        For the foregoing and all other necessary and proper purposes, the Trustee desires to

 retain MCT as accountants and bankruptcy consultants to the Trustee. The Trustee is a member

 and partner employed as an accountant by MCT.

          7.        MCT has the appropriate skills and personnel needed to perform the services required

by the Trustee having performed similar services for in excess of 25 years.

          8.        MCT has agreed to perform its services as requested by the Trustee and thereafter

make an application to this Court for compensation.

          9.        The normal hourly fees of MCT are as follows:

                    a.         Partners & Principals              $500.00 - $850.00 per hour

                    b.         Managers                           $375.00 - $495.00 per hour

                    c.         Senior Accountants                 $295.00 - $370.00 per hour

                    d.         Staff Accountants/Paraprofessionals $150.00 - $290.00 per hour

          10.        These hourly rates are subject to periodic increase in the normal course of MCT’s

business.

          11.       It is contemplated that MCT will seek compensation based upon its normal and

usual billing rates. It is further contemplated that MCT may seek interim compensation as permitted

by Section 331 of the Bankruptcy Code.



4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS        Doc 18     Filed 03/13/24     Page 6 of 14



          12.       As detailed in the Tomlin Declaration attached hereto, MCT is a disinterested person

 within the meaning of Section 101(14) of the Bankruptcy Code.

          13.       Accordingly, the Trustee believes the employment of MCT as accountants and

 bankruptcy consultants as set forth in this Application is in the best interests of the Debtors’ estates.

                                                  NOTICE

          14.       Notice of this Application has been provided to: (i) the Office of the United States

 Trustee, (ii) the Debtors, (iii) counsel to the Debtors, and (iv) all parties that have requested pursuant

 to Fed. R. Bankr. P. 2002 to receive notices in these chapter 7 cases. In light of the nature of the

 relief requested, the Trustee submits no other or further notice is required.

          15.       No prior request for the relief sought in this Application has been made to this or any

 other court.




4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS    Doc 18     Filed 03/13/24     Page 7 of 14



          WHEREFORE, the Trustee requests authorization to employ MCT as Accountants and

Bankruptcy Consultants to render services in the areas described but not limited to the above, with

compensation to be paid as an administrative expense in such amounts as this Court may hereinafter

determine and allow after an application for fees is submitted to this Court for consideration.


                                                     Respectfully submitted,

Dated:      March 13, 2024                           /s/ George L. Miller
                                                     George L. Miller

                                                     Chapter 7 Trustee for the Bankruptcy Estates of
                                                     the Debtors




4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS          Doc 18      Filed 03/13/24        Page 8 of 14




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 7

    OROX CAPITAL MANAGEMENT, LLC, et                              Case No. 23-12118 (BLS)
    al1,
                                                                  (Jointly Administered Requested)
                                   Debtors.



             DECLARATION OF MATTHEW R. TOMLIN, CPA, IN SUPPORT OF THE
                   APPLICATION OF CHAPTER 7 TRUSTEE TO EMPLOY
              MILLER COFFEY TATE LLP AS ACCOUNTANTS AND BANKRUPTCY
                   CONSULTANTS, EFFECTIVE AS OF JANUARY 23, 2024

          I, Matthew R. Tomlin, being duly sworn, depose and say:

          1.        I am a partner with the firm of Miller Coffey Tate LLP (“MCT”), Certified Public

Accountants and Consultants, with offices at Eight Penn Center, Suite 950, 1628 John F. Kennedy

Boulevard, Philadelphia, Pennsylvania, 19103, (215) 561-0950, and I am authorized to execute this

Declaration on behalf of MCT.

          2.        I do not believe that I, nor any member of MCT, holds or represents any interest adverse

to the Trustee or the Debtors’ estates.

          3.        I have reviewed the Application of Chapter 7 Trustee for the estate of the above-

captioned Debtors, George L. Miller, to Employ MCT as Accountants and Bankruptcy Consultants,

effective as of January 23, 2024 (the “Application”) and am aware of the statements contained therein,



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Orox Capital
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LLC (5105); OC Holding Vehicle, LLC (0838); OCAV IV, LLC (4825); OFAV I, LLC (9639); Orox Capital Acquisition
Vehicle I, LLC (8500); Orox Capital Co-Investment GP, L.P. (5106); Orox Capital Co-Investment Vehicle I, L.P. (9236);
Orox Capital Co-Investment Vehicle II, L.P. (3829); Orox Capital Co-Investment Vehicle III, L.P. (7229); Orox Capital
Credit GP, L.P. (1345); Orox Capital Credit Opportunities Fund, L.P. (1452); Orox Capital GP, LLC (7073); Orox Finance
Co-Investment GP, L.P. (3926); Orox Southwest Holding Vehicle, LLC (0991); Orox SSW Holdings, LLC (1107); Oscar
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4889-6831-4285.1 57098.00001
                     Case 23-12118-BLS            Doc 18     Filed 03/13/24      Page 9 of 14



which statements are true and correct to the best of my knowledge information and belief.

          4.        Disclosure with respect to whether or not MCT has or has had “connections” with the

Debtors, the Debtors’ estates, creditors, or other parties-in-interest, their respective attorneys or

accountants, insofar as I have been able to ascertain, is set forth below:

                    a.         MCT has compared the parties identified on Schedule 1 to the list of MCT’s
                               current and former engagements and clients. No connections were found,
                               except as noted in this Declaration.
                    b.         The Trustee is a member and partner employed as an accountant by MCT.
                    c.         MCT may have appeared and may appear in the future in other cases unrelated
                               to the Debtors’ estates where the Debtors’ counsel, creditors or other parties-in-
                               interest herein, or their representatives, may be involved.
                    d.         To the extent that MCT discovers any connection with any interested party or
                               enters into any new relationship with any interested party, MCT will promptly
                               supplement its disclosure to the Court.
                    e.         To the best of my knowledge, information and belief, neither I nor any
                               personnel of MCT is a relative of any judges who serve at the United States
                               Bankruptcy Court for the District of Delaware, including Judge Thomas M.
                               Horan, the presiding judge in these cases.
                    f.         To the best of my knowledge, information and belief, neither I nor any
                               personnel of MCT is neither a relative of the United States Trustee for the
                               District of Delaware or any personnel of Office of the United States Trustee
                               for the District of Delaware.
          5.        MCT is a disinterested person within the meaning of Section 101(14) of the United States

                    Bankruptcy Code.

          6.        Except as otherwise set forth in the Application and Declaration, MCT has no

connection with the Debtors, any creditor or any other party in interest, their respective attorneys or




4889-6831-4285.1 57098.00001
                    Case 23-12118-BLS       Doc 18     Filed 03/13/24     Page 10 of 14



          accountants, or with the United States Trustee or any person employed in the office of the United

States Trustee.

                                                        MILLER COFFEY TATE LLP

          Dated: March 13, 2024                         /s/ Matthew R. Tomlin
                                                        Matthew R. Tomlin
                                                        Eight Penn Center, Suite 950
                                                        1628 John F. Kennedy Blvd.
                                                        Philadelphia, Pennsylvania 19103
                                                        Telephone: (215) 561-0950




4889-6831-4285.1 57098.00001
                    Case 23-12118-BLS           Doc 18       Filed 03/13/24        Page 11 of 14



                                                 Schedule 1
                                    Listing of Parties for Conflict Check
                                        Potential Parties-in-Interest1


Debtor:
 Orox Capital Management, LLC                                                           23-12118
 Orox Capital GP, LLC                                                                   23-12132
 AIHV I, LLC                                                                            23-12119
 Armstrong Co-Investment Vehicle, L.P.                                                  23-12120
 CEI Holding Vehicle, LLC                                                               23-12121
 OC Holding Vehicle, LLC                                                                23-12122
 OCAV IV, LLC                                                                           23-12123
 OFAV I, LLC                                                                            23-12124
 Orox Capital Acquisition Vehicle I, LLC                                                23-12125
 Orox Capital Co-Investment GP, L.P.                                                    23-12126
 Orox Capital Co-Investment Vehicle I, L.P.                                             23-12127
 Orox Capital Co-Investment Vehicle II, L.P.                                            23-12128
 Orox Capital Co-Investment Vehicle III, L.P.                                           23-12129
 Orox Capital Credit GP, L.P.                                                           23-12130
 Orox Capital Credit Opportunities Fund, L.P.                                           23-12131
 Orox Finance Co-Investment GP, L.P.                                                    23-12133
 Orox Southwest Holdiong Vehicle, LLC                                                   23-12134
 Orox SSW Holdings, LLC                                                                 23-12135
 Oscar Equipment Company, LLC                                                           23-12137
 Oscar Holding Vehicle, LLC                                                             23-12138

Debtor’s Counsel:
Benisch, Friedlander, Coplan & Aronoff LLP

Former Directors and Officers:
Mark W. Martinson, 73.68% (Class A)
O’Malley H. Dishman 26.32% (Class A)

Creditors/ Interested Parties Known to Date:
Parties listed on the List of Creditors and parties listed on Schedules D & E/F filed in these cases.




1
  Known material parties as of the filing of this Declaration together with creditor names appearing in Schedule D,
Schedule E and Schedule F of the Schedules of Assets and Liabilities prepared by the Debtors.
4889-6831-4285.1 57098.00001
                    Case 23-12118-BLS        Doc 18   Filed 03/13/24   Page 12 of 14



                          Office of the United States Trustee
                      Region 3 - Wilmington DE - Staff Directory
 Andrew R. Vara                              United States Trustee
 Joseph McMahon                              Assistant U.S. Trustee
 Lauren Attix                                Paralegal Specialist
 Malcolm M. Bates                            Trial Attorney
 Fang Bu                                     Trial Attorney
 Linda Casey                                 Trial Attorney
 Joseph Cudia                                Trial Attorney
 Holly Dice                                  Auditor
 Shakima L. Dortch                           Paralegal Specialist
 Timothy J. Fox, Jr.                         Trial Attorney
 Diane Giordano                              Bankruptcy Analyst
 Michael Girello                             Paralegal Specialist
 Christine Green                             Paralegal Specialist
 Benjamin Hackman                            Trial Attorney
 Nyanquoi Jones                              Auditor
 Jane Leamy                                  Trial Attorney
 Jonathan Lipshie                            Trial Attorney
 Hannah M. McCollum                          Trial Attorney
 Jonathan Nyaku                              Auditor
 James R. O'Malley                           Auditor
 Linda Richenderfer                          Trial Attorney
 Richard Schepacarter                        Trial Attorney
 Edith A. Serrano                            Paralegal Specialist
 Rosa Sierra- Fox                            Trial Attorney
 Elizabeth Thomas                            Paralegal Specialist
 Dion Wynn                                   Paralegal Specialist

                                      Bankruptcy Judges
                               United States Bankruptcy Court
                                      District of Delaware
 Laurie Selber Silverstein, Chief Judge
 John T. Dorsey, Judge
 Craig T. Goldbatt, Judge
 Thomas M. Horan, Judge
 Karen B. Owens, Judge
 Brendan L. Shannon, Judge
 J. Kate Stickles, Judge
 Mary F. Walrath, Judge
 Ashely M. Chan, Judge

                               Clerk of the United States Bankruptcy Court
                                            District of Delaware
 Una O’Boyle



4889-6831-4285.1 57098.00001
                    Case 23-12118-BLS          Doc 18       Filed 03/13/24       Page 13 of 14




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 7

    OROX CAPITAL MANAGEMENT, LLC, et                              Case No. 23-12118 (BLS)
    al.,1
                                                                  (Jointly Administered)
                                   Debtors.
                                                                  Related Docket: _______

     ORDER AUTHORIZING APPLICATION OF CHAPTER 7 TRUSTEE TO EMPLOY
        MILLER COFFEY TATE LLP AS ACCOUNTANTS AND BANKRUPTCY
              CONSULTANTS, EFFECTIVE AS OF JANAURY 23, 2024

          Upon the application (the “Application”) of George L. Miller, as chapter 7 trustee (the

“Trustee”) of the bankruptcy estate of Orox Capital Management, LLC, et al., (collectively, the

“Debtors”) for entry of an order pursuant to sections 327(a) and 328 of the Bankruptcy Code,

Bankruptcy Rule 2014, and Local Bankruptcy Rule 2014-1 authorizing the Trustee to employ Miller

Coffey Tate LLP as accountants and bankruptcy consultants, effective as of January 23, 2024; and

upon the Tomlin Declaration annexed to the Application; and the Court finding that: (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and reference from the District Court

pursuant to 28 U.S.C. § 157; (b) notice of the Application and the hearing was sufficient under the

circumstances; (c) based on the Tomlin Declaration, Miller Coffey Tate LLP neither has nor

represents any interest materially adverse to the interests of the Debtors’ estates, any other parties in

interest, or in connection with the Debtors’ cases; (d) the Court having determined that Miller Coffey



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 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Orox Capital
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4889-6831-4285.1 57098.00001
                    Case 23-12118-BLS         Doc 18     Filed 03/13/24     Page 14 of 14



Tate LLP is a “disinterested person” pursuant to section 101(14) of the Bankruptcy Code; and (e) the

Court having determined that the legal and factual bases set forth in the Application and the Tomlin

Declaration establish just cause for the relief granted herein; and it appearing to the Court that the

Application should be approved,

IT IS HEREBY ORDERED THAT:

          1.        The Application is GRANTED.

          2.        The Trustee is hereby authorized to employ Miller Coffey Tate LLP as his accountants

and bankruptcy consultants pursuant to sections 327 and 328 of the Bankruptcy Code, Bankruptcy

Rules 2014 and 2016, and Local Rule 2014-1, effective as of January 23, 2024.

          3.        Compensation to be paid to Miller Coffey Tate LLP for services to be rendered to the

Trustee, plus reimbursement of costs incurred in connection with the services provided to the Trustee,

shall be determined by this Court upon appropriate application therefor in accordance with sections

330 and 331 of the Bankruptcy Code, applicable Bankruptcy Rules and/or any applicable regulations

and Orders of this Court.

          4.        The terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

          5.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




4889-6831-4285.1 57098.00001
